Case 1:15-cv-00302-PAB-MJW Document 19 Filed 04/01/15 USDC Colorado Page 1 of 10

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Civit Action No. 15-cv-00302-PAB-MJW
YSIDRO LONGORIA,

Plaintiff,
Vv.

CORRECTIONS CORPORATION OF AMERICA,

CORRECTIONS OFFICER (C.O.) DENNIS KASTELIC, in his individually capacity and
as an employee of CCA,

C.O. GLENDA LUCERO, in her individual capacity and as an employee of CCA,
C.O. LINDA BRADFORD, in her individual capacity and as an employee of CCA,
C.0. BRANDON FLOREZ, in his individual capacity and as an employee of CCA,
C.0. ANTHONY ROMERO, in his individual capacity and as an employee of CCA,
C.0. ROSEANN JARAMILLO, in her individual capacity and as an employee of CCA,
CO. TIFFANY MAREZ, in her individual capacity and as an employee of CCA,

C.O DAVID LAMBERT, in his individual capacity and as an employee of CCA,

C.O. STEVE MEDINA, in his individual capacity and as an employee of CCA,

C.0. CHIEF JOHN DOE 1, in his individual capacity and as an employee of CCA,

Defendants.

 

PROTECTIVE ORDER ( Prefer Noe. ite . | )

 

Pursuant to the Joint Stipulated Motion for Protective Order filed by the parties, the
Court hereby Orders as follows:

1. This Protective Order shall apply to all documents, materials, and
information, including without limitation, documents produced, answers to interrogatories,
responses to requests for admission, deposition testimony, and other information
disclosed pursuant to the disclosure or discovery duties created by the Federal Rules of

Civil Procedure.
Case 1:15-cv-00302-PAB-MJW Document 19 Filed 04/01/15 USDC Colorado Page 2 of 10

2. As used in this Protective Order, “document” is defined as provided by Fed.
R. Civ. P. 34(a). A draft or non-identical copy is a separate document within the meaning
of this term.

3. One who provides, serves, discloses or files any nonpublic documents or
information in connection with this civil action, and who in good faith believes such
documents or information are protected by a statutory, regulatory, or common law right
of privacy or protection, or otherwise contain nonpublic personal, personnel, employment,
private, medical, or other information implicating privacy interests, proprietary interests or
safety and security concerns of either the Plaintiff, or any of the Defendants may
designate such documents or information as “Confidential.” The documents or
information so designated shall be deemed “Confidential Material’ subject to this
Protective Order.

4. Confidential Material shall be subject to the following restrictions.
Confidential Material shail be used only for the limited purpose of preparing for and
conducting this civil action (including any appeals), and not for any other purpose
whatsoever, and shall not, without the consent of the party producing it or further Order
of the Court, be disclosed in any way to anyone except those specified in this paragraph:

(a) attorneys actively working on this case;

(b) persons regularly employed or associated with the attorneys actively
working on the case whose assistance is required by said attorneys in the preparation for

trial, or at other proceedings in this case; however, this does not include contract
Case 1:15-cv-00302-PAB-MJW Document 19 Filed 04/01/15 USDC Colorado Page 3 of 10

employees, other persons hired on a temporary basis, or outside agencies, organizations,
ar institutions;

(c) the parties and designated representatives of the Defendants;

(d) expert witnesses and consultants retained in connection with this
proceeding, to the extent such disclosure is necessary for preparation, trial or other
proceedings in this case;

(e) the Court and its employees (“Court Personnel"):

(f} stenographic reporters who are engaged in proceedings necessarily
incident to the conduct of this action;

(g) to an insurance representative, if any, whose policies could apply to the
allegations of the Complaint;

(h) witnesses in the course of deposition or trial testimony where counsel has
a reasonable and good faith belief that examination with respect to the document is
necessary in legitimate discovery or trial purposes in this case, and any person who is
being prepared to testify where counsel has a reasonable and good faith belief that such
person will be a witness in this action and that his examination with respect to the
document is necessary in connection with such testimony; and

(i) other persons by agreement of all the parties.

5. A subset of “Confidential” information may be designated “Confidential-
Attorneys Only.” The designation of “Confidential Attorneys Only” is limited to information
that a designation of “Confidential” is insufficient to protect and relates to information that

poses a safety or security threat to corrections employees, inmates and/or the public.
Case 1:15-cv-00302-PAB-MJW Document 19 Filed 04/01/15 USDC Colorado Page 4 of 10

Any information so designated shall not, without consent of the party producing it or
further order of the Court, be disclosed except that such information may be disclosed to:

(a) attorneys actively working on this case;

(b) persons regularly employed by or associated with the attorneys actively
working on the case whose assistance is required by said attorneys in the preparation for
trial, at trial, or at other proceedings in this case; however, this does not include contract
employees, other persons hired on a temporary basis, or outside agencies, organizations,
or institutions;

(c) expert witnesses and consultants retained in connection with this
proceeding, to the extent such disclosure is necessary for preparation, trial or other
proceedings in this case

(d) Court Personnel;

(e) stenographic reporters who are engaged in proceedings necessarily
incident to the conduct of this action;

(f) to an insurance representative, if any, whose policies could apply to the
allegations of the Complaint;

(g) witnesses in the course of deposition or trial testimony where counsel has a
reasonable and good faith belief that examination with respect to the document is
necessary in legitimate discovery or trial purposes in this case, and any person who is
being prepared to testify where counsel has a reasonable and good faith belief that such
person will be a witness in this action and that his examination with respect to the

document is necessary in connection with such testimony; and
Case 1:15-cv-00302-PAB-MJW Document 19 Filed 04/01/15 USDC Colorado Page 5 of 10

(h) other persons by agreement of all the parties.

6. Prior to disclosing any “Confidential” or “Confidential-Attorneys Only”
information to any person listed in Paragraphs 4(d), 4(g), 4(h), 5(d), 5(g), and 5(h) listed
above, counsel shall provide such person with a copy of this Protective Order and have
such person sign an acknowledgement that he or she has read this Protective Order and
agrees to be bound by its provisions, as set forth in the form attached hereto as Exhibit
A,

7. This Protective Order shall not prohibit or restrain any party from performing
the tasks necessary to prepare for trial; however, any re-disclosure or communication of
the information covered by this Protective Order, except as specifically allowed by this
Protective Order for the purposes of this litigation only, is strictly prohibited. The object
of this Protective Order is that none of the information revealed in connection with such
protections be used for any purpose other than in relation to this litigation and that no one
be allowed to use any information produced pursuant to this order in connection with any
other issue, dispute, litigation or charge against any of the parties whether currently
pending or contemplated in the future.

8. No reproduction of information disclosed in reliance on this Protective Order
is authorized, except to the extent copies are required to prepare the case for trial. All
copies, excerpts, or summaries made, shown, or given to those authorized hereby and
according to the provisions hereof shall be stamped to indicate the protected and
confidential nature of the disclosed information. Review of Confidential Material by

counsel, experts or consultants for the litigation will not constitute any waiver of the
Case 1:15-cv-00302-PAB-MJW Document 19 Filed 04/01/15 USDC Colorado Page 6 of 10

confidentiality of the document or of any objections to production. Additionally, by
designating information as Confidential or Confidential-Attorneys Only and producing that
information pursuant to this Protective Order's terms, no party waives any objections or
statutory exemptions that may otherwise be asserted. The inadvertent, unintentional or
in camera disclosure of Confidential or Confidential-Attorneys Only Material shail not,
under any circumstances, be deemed a waiver, in whole or in part, of any claims of
confidentiality.

9. Counsel to the parties are required to advise, instruct and supervise all
associates, staff and employees of counsel to keep designated Confidential and
Confidential-Attormeys Only Material confidential in the strictest possible fashion.
Counsel and the Parties also agree to such treatment of the information by themselves,
and counsel will appropriately instruct their clients as to the protected nature of the
information produced pursuant to this order and the limitations on its use and disclosure.

40. Documents are designated as Confidential or Confidential-Attorneys Only
Material by placing or affixing on them (in a manner that will not interfere with their
legibility) the following or other appropriate notice: “CONFIDENTIAL.” or
“CONFIDENTIAL-ATTORNEYS ONLY.”

141. Whenever a deposition involves the disclosure of Confidential or
Confidential-Attorneys Only Material, the deposition or portions thereof may be
designated as Confidential or Confidential-Attorneys Only and subject to this Protective
Order. Such designation shall be made on the record during the deposition whenever

possible, but a party may designate portions of depositions as Confidential or
Case 1:15-cv-00302-PAB-MJW Document 19 Filed 04/01/15 USDC Colorado Page 7 of 10

Confidential-Attorneys Only after transcription, provided written notice of the designation
is promptly given to all counsel of record within thirty (30) days after notice by the court
reporter of the completion of the transcript. The cover page, those portions of the original
transcripts that contain confidential or confidential-attorneys only material shall bear the
legend “CONFIDENTIAL—SUBJECT TO PROTECTIVE ORDER,” or “CONFIDENTIAL-
ATTORNEYS ONLY --- SUBJECT TO PROTECTIVE ORDER’ and shall be bound
separately from the non-confidential portions of the transcript. Any deposition exhibits
designated confidential or confidential-attorneys only shall also be bound separately.

12. A party may object to the designation of particular documents as
Confidential or Confidential-Attorneys Only Material, and to the scope of restrictions, by
giving written notice to the party designating the disputed information. The written notice
shall identify the information to which objection is made and the limitations in scope to
which objection is made where relevant. If the parties cannot resolve the objection within
ten (10) business days after the time the notice is received, it shall be the obligation of
the party designating the information as confidential or confidential-attorneys only to file
a motion seeking to maintain the designation as confidential or confidential-attorneys only
after the conclusion of the ten (10) business days requesting that the Court determine
whether the disputed information should be subject to the terms of this Protective Order.
If this procedure is timely followed, the disputed information shall be treated as
confidential or confidential-attorneys only under the terms of this Protective Order until
the Court rules on the motion. If the designating party fails to timely follow such discovery

dispute procedures, the disputed information shall lose its designation as confidential or
Case 1:15-cv-00302-PAB-MJW Document 19 Filed 04/01/15 USDC Colorado Page 8 of 10

confidential-attorneys only and shall not thereafter be treated as confidential or
confidential-attorneys only in accordance with this Protective Order. In connection with
any dispute raised under this provision, the party designating the information as
confidential or confidential-attorneys only shall bear the burden of establishing that good
cause exists for the disputed information to be treated as confidential.

13. If a party discloses information NOT designated as Confidential or
Confidential-Attorneys Only, any of the other parties may let the disclosing party know of
its intention to designate the information as Confidential or Confidential-Attorneys Only.
lf the party disclosing the information objects to the proposed designation of this
information as Confidential or Confidential-Attorneys Only, the provisions of Paragraph
12 will apply for the resolution of the dispute.

14. If a disclosing party inadvertently discloses information that was not
designated as Confidential or Confidential-Attorneys Only but later determines that the
disclosed information should have been designated as Confidential or Confidential-
Attorneys Only, the disclosing party shall promptly notify the other (or non-disclosing}
parties of the error and furnish properly designated copies of the disclosed information.
Upon learning of the improperly-designated disclosure, the non-disclosing parties shall
treat all copies of the disclosed information as if they were originally designated as
Confidential or Confidential-Attorneys Only.

15. At the conclusion of this case, including any appeals, unless other
arrangements are agreed upon, each document and all copies thereof designated as

Confidential shall be returned to the party that designated the material as Confidential or
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Case 1:15-cv-00302-PAB-MJW Document 19 Filed 04/01/15 USDC Colorado Page 9 of 10

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Confidential-Attorneys Only, or the parties may elect to destroy confidential or
confidential-attorneys only documents. Where the parties agree to destroy confidential
or confidential-attorneys only documents, the destroying party shall provide all parties
with an affidavit confirming the destruction. However, this does not require parties
including any entity who employs one of the parties to destroy any documents that would
normally be maintained in their records, as part of a case file or required to be kept by
law. In addition, all counsel is entitled to retain an archival copy of their case file, under
terms subject to this Protective Order, even if such materials contain Confidential
Information.

16. | Stamped confidential or confidential attorneys-only documents shall not be
filed with the clerk except when required in connection with motions under Federal Rules
of Civil Procedure 12 or 56, motions to determine confidentiality under the terms of this
Protective Order, Motions in Limine, and motions related to discovery disputes if the
confidential documents are relevant to the motion. A party contemplating filing
Confidential or Confidential-Attorneys Only Material protected by this Protective Order
with the Court shall make a good faith effort to have the Confidential or Confidential-

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Attorneys Only information filed underseat, or otherwise restricted from public access,
pursuant te D.C.Colo.LCiv.R. 7.2. The parties agree that any Confidential or Confidential-
Attorneys Only information will be filed at Level | Restricted.

17. This Protective Order may be modified by the Court at any time for good

cause shown following notice to all parties and an opportunity for them to be heard.
Case 1:15-cv-00302-PAB-MJW Document 19 Filed 04/01/15 USDC Colorado Page 10 of 10

18. Nothing in this Protective Order shall prevent any party or other person from
seeking modification of this order or from objecting to discovery that the party or other
person believes to be improper. Nothing in this Protective Order shall prejudice the right
of any party to contest the alleged relevancy, admissibility, or discoverability of
confidential or confidential-attorneys only documents or information sought.

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Dated this | day of Pec! 2015.

BY THE COURT:

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Michael J. Watanabe
United States District Court Judge

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